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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 MICHAEL WIDMER                                   )
                                                  )
                       Plaintiff,                 )
                                                  )
 vs.                                              )   Case No. 13−cv−1248−MJR−SCW
                                                  )
 RICHARD HARRINGTON,                              )
 WILLIAM QUALLS,                                  )
 JOHN RESTOFF,                                    )
 AARON WALTERS,                                   )
 KIM BUTLER                                       )
                                                  )
                       Defendants.

                        REPORT AND RECOMMENDATION
 WILLIAMS, Magistrate Judge:

        Pursuant to 42 U.S.C. § 1983, Plaintiff Michael Widmer brought this action on December 3,

 2013, for deprivations of his constitutional rights that allegedly occurred at Menard Correctional

 Center (“Menard”). Plaintiff made allegations of retaliation, and deliberate indifference to his

 serious medical needs against Defendants Harrington, Qualls, Restoff, and Walters in his original

 Complaint. (Doc. 1). Defendant Kim Butler was later added in her official capacity only for the

 purposes of injunctive relief. (Doc. 44). The matter now comes before the Court on Defendants

 Harrington, Qualls, Restoff, and Walter’s Motion for Summary Judgment on the issue of exhaustion

 of administrative remedies. (Doc. 40). The matter has been referred to United States Magistrate

 Judge Stephen C. Williams by United States District Judge Michael J. Reagan pursuant to 28 U.S.C.

 §§ 636(b)(1)(B) and (C), Federal Rule of Civil Procedure 72(b), and Local Rule 72.1(a) for a Report

 and Recommendation on whether Widmer exhausted his administrative remedies before filing suit.

 For the following reasons, the undersigned RECOMMENDS that the Court GRANT the Motion

 (Doc. 40) in Defendants’ favor.


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           On July 1, 2014, Defendants filed the present Motion.       (Doc. 40).    Plaintiff filed an

 “Objection to Defendants Motion for Summary Judgment” on July 31, 2014. (Doc. 43). The Court

 then set this matter for a hearing. Plaintiff requested to present witnesses at the hearing, but the

 Court denied the request after Plaintiff refused to provide the subject of the proposed witnesses’

 testimony. (Doc. 50). The Court held a hearing on Plaintiff’s Motion on October 30, 2014. The

 motion is therefore ripe for disposition. It is clear from the record that summary judgment is

 warranted here, because the pleadings and testimony demonstrate that Plaintiff did not exhaust his

 grievances prior to filing suit.

                                         LEGAL STANDARDS

     1. Summary Judgment Standard

           Summary judgment is proper only if the admissible evidence considered as a whole shows

 there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter

 of law. Dynegy Mktg. & Trade v. Multiut Corp., 648 F.3d 506, 517 (7th Cir. 2011) (citing Fed.

 R. Civ. P. 56(a)).          The party seeking summary judgment bears the initial burden of

 demonstrating—based on the pleadings, affidavits and/or information obtained via discovery—the

 lack of any genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). In

 determining whether a genuine issue of material fact exists, the Court must view the record in a light

 most favorable to the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

 (1986).

           A Motion for Summary Judgment filed pursuant to Pavey typically requires a hearing to

 determine any contested issues regarding exhaustion and a judge may make limited findings of fact

 at that time. Pavey v. Conley, 544 F.3d 739, 742 (7th Cir. 2008). The case may proceed on the

 merits only after any contested issue of exhaustion is resolved. Pavey, 544 F.3d at 742. In Pavey,


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 the Seventh Circuit held that “debatable factual issues relating to the defense of failure to exhaust

 administrative remedies” are not required to be decided by a jury but are to be determined by the

 judge. Pavey, 544 F.3d at 740-41.     A hearing will not be required where “there are no disputed

 facts regarding exhaustion, only a legal question.” Doss v. Gilkey, 649 F.Supp.2d 905, 912

 (S.D.Ill. 2009).

    2. PLRA’s Exhaustion Requirement

        The affirmative defense of failure to exhaust depends on whether a plaintiff has fulfilled the

 Prison Litigation Reform Act’s (PLRA’s) exhaustion requirement, which in turn depends on the

 prison grievance procedures set forth in Illinois law. See Jones v. Bock, 549 U.S. 199, 218 (2007).

        The Prisoner Litigation Reform Act (“PLRA”) provides that “no action shall be brought

 [under federal law] with respect to prison conditions…by a prisoner…until such administrative

 remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). Under the PLRA, exhaustion of

 administrative remedies is mandatory and unexhausted claims cannot be brought in court. Jones v.

 Bock, 549 U.S. 199, 211 (2007). The case may proceed on the merits only after any contested issue

 of exhaustion is resolved by the court. Pavey v. Conley, 544 F.3d 739, 742 (7th Cir. 2008).

        The Seventh Circuit takes a strict compliance approach to exhaustion; requiring inmates

 follow all grievance rules established by the correctional authority. Dole v. Chandler, 438 F.3d

 804, 809 (7th Cir. 2006). A prisoner must therefore “file complaints and appeals in the place, and

 at the time, the prison’s rules require.” Pozo v. McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002).

 But the PLRA’s plain language makes clear that an inmate is required to exhaust only those

 administrative remedies that are available to him. 42 U.S.C. § 1997e(a). The Seventh Circuit has

 held that administrative remedies become “unavailable” when prison officials fail to respond to

 inmate grievances. Lewis v. Washington, 300 F.3d 829, 833 (7th Cir. 2002).          However, if the

 prisoner fails to follow the proper procedure, the grievance will not be considered exhausted. Pavey


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 v. Conley, 663 F.3d 899, 903 (7th Cir. 2011). The purpose of exhaustion is to give prison officials

 an opportunity to address the inmate’s claims internally, prior to federal litigation. Kaba v. Stepp,

 458 F.3d 678, 684 (7th Cir. 2006).

         Additionally, exhaustion is a precondition to filing suit; a prisoner may not file suit in

 anticipation that his administrative remedies will soon become exhausted. Ford v. Johnson, 362

 F.3d 395, 398 (7th Cir. 2004). Rather, a prisoner must wait bring a suit until he completes the

 exhaustion process. Perez v. Wisconsin Dept. of Corrections, 182 F.3d 532, 535 (7th Cir. 1999)

 (citing 42 U.S.C. § 1997e(a)). A suit that is filed prior to the exhaustion of remedies must be

 dismissed, even if a plaintiff’s administrative remedies become exhausted during the pendency of the

 suit. Id.

     3. Exhaustion Requirement under Illinois Law

         The Illinois Department of Corrections’ (IDOC’s) process for exhausting administrative

 remedies is laid out in the Illinois Department of Corrections Grievance Procedures for Offenders.

 20 Ill. Admin. Code § 504.810. If unable to resolve dispute with the counselor, the prisoner may

 file a written grievance with the Grievance Officer within sixty (60) days of discovery of the dispute.

 Id. The grievance should include “factual details regarding each aspect of the offender’s complaint,

 including what happened, when, where, and the name of each person who is the subject of or who is

 otherwise involved in the complaint…[or] as much descriptive information about the individual as

 possible.”   Id.   The grievance officer shall review the grievance and report findings and

 recommendations to the Chief Administrative Officer (CAO). 20 Ill. Adm. Code § 504.830(d).

 The prisoner will then have the opportunity to review the CAO’s response. Id. If the prisoner is

 unsatisfied with the institution’s resolution of the grievance, he may file an appeal to the Director

 through the Administrative Review Board (“ARB”) within 30 days of the CAO’s decision. 20 Ill.

 Adm. Code § 504.850. Completion of this process exhausts a prisoner’s administrative remedies.


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                                                  FACTS

         IDOC transferred Plaintiff to cell 105 at Menard West Cell House on or about November

 15, 2013. (Doc. 1, p. 6). Plaintiff alleges that he was subjected to a thick fog of smoke, and

 temperatures below 32 degrees in his cell for seven days, which resulted in Plaintiff’s illness. (Doc.

 1, p. 6). Plaintiff further alleges that he was subsequently denied medical treatment on two separate

 occasions. (Doc. 1., p 7). The Court found that Plaintiff stated a claim for relief against all

 Defendants for deliberate indifference to medical needs (Count 1) and against Defendant Qualls for

 retaliation (Count 2). (Doc. 6).

         In his Complaint, Plaintiff alleged that he filed three emergency grievances, which never

 received a response. (Doc. 1, p. 5). He alleged that he filed one on November 21, 2013. (Doc. 1, p.

 7). He alleged that he filed a second emergency grievance on November 28, 2013. (Doc. 1, p. 7).

 The Complaint is silent on when Plaintiff filed the third emergency grievance. Defendants’ Motion

 indicates that no grievances on the issues in the Complaint were ever received by Menard staff or

 the ARB.

         At the hearing, Plaintiff testified that he filed each grievance by placing it in the bars of his

 cell. He also testified that he believes that he got a response to a contemporaneously filed grievance

 regarding the use of space heaters in the cell block. Plaintiff initially testified that he filed all four

 grievances at the same time; later he clarified that he may have filed the space heater grievance first.

 The space heater grievance is dated February 7, 2014. (Doc. 40-3, p. 2).

                                                ANALYSIS

         In this case, it is an open question whether Plaintiff filed suit prior to the exhaustion of

 administrative remedies. Plaintiff claims he filed three emergency grievances sometime between

 November 21, 2013 and November 28, 2013, and filed suit a mere five days later on December 3,

 2013. Plaintiff argued at the hearing that this Court has held that a prisoner may file suit if he waits


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 more than two days for a response to an emergency grievance from the chief administrative officer.

 The undersigned gave Plaintiff a week to submit his case law on this point. Plaintiff has not done so

 to date. However, the Court believes that Plaintiff is referring to Judge Gilbert’s order in Merritte v.

 Kessell, No. 12-263, Doc. 72. That order cited the Seventh Circuit’s opinion in Fletcher v. Menard

 Correctional Center, where the Court held that the plaintiff had to wait more than two days for a

 response to his emergency grievance before filing suit. 623 F.3d 1171 (7th Cir. 2010). Judge Gilbert

 found that Merritte’s conclusion that the grievance process was unavailable to him after waiting

 thirteen days for a response was a reasonable conclusion. (No. 12-263, Doc. 72). However, the

 undersigned does not have to determine if Plaintiff was reasonable here because the undersigned did

 not find Plaintiff’s testimony that he filed emergency grievances credible.

         The Menard Grievance Office has a record of only one emergency grievance filed by

 Plaintiff on February 7, 2014 asserting allegations that are unrelated to the instant case. (Doc 40-3).

 Plaintiff’s emergency grievance filed on February 7, 2014 states in part, “[t]he heaters produce

 poison gasses which cause me to suffer from headaches and dizzyness (sic)” (Doc. 40-3, p. 2).

 Furthermore, ARB does not have any records of any grievances filed by Plaintiff regarding the

 allegations in this case. (Doc 40-1). Plaintiff testified that he filed his three emergency grievances

 either at the same time as the space heater grievance or slightly after he filed it. But the events that

 Plaintiff complains of occurred in November 2013, while the space heater grievance was filed in

 February 7, 2014. Plaintiff cannot have exhausted his remedies as to this suit if he waited until

 February or March 2014 to file his emergency grievances. Additionally, IDOC has no record of the

 emergency grievances Plaintiff claims to have filed. For these reasons, the undersigned finds

 Plaintiff not credible, and rejects his testimony that he filed three emergency grievances on the issues

 present in his case.

                                             CONCLUSION


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          After holding a hearing on the matter, the undersigned finds that Plaintiff did not exhaust

 his administrative remedies. Although Defendant Butler did not join the Motion for Summary

 Judgment, that is unnecessary, as she is only a party for the purposes of carrying out injunctive

 relief,1 and Plaintiff’s request for injunctive relief falls with the rest of his case. Accordingly, the

 undersigned RECOMMENTS that the Court GRANT the Motion for Summary Judgment (Doc.

 40), and DISMISS the case without prejudice. This disposes of all the claims of the case.

          Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 73.1(b), the parties may object to any or all

 of the proposed dispositive findings in this Recommendation. The failure to file a timely objection

 may result in the waiver of the right to challenge this Recommendation before either the District

 Court or the Court of Appeals. See, e.g., Snyder v. Nolen, 380 F.3d 279, 284 (7th Cir. 2004).

 Objections to this Report and Recommendation must be filed on or before December 1, 2014. See

 Fed. R. Civ. P. 6(d); SDIL-LR 5.1(c).

          IT IS SO ORDERED.

          DATED: November 12, 2014                                                   /s/    Stephen C. Williams
                                                                                     Stephen C. Williams
                                                                                     United States Magistrate Judge




 1There is some indication in Plaintiff’s other filings that he has since been moved from the cell placement at issue here,
 which would make his request for injunctive relief moot, but the parties have not raised this issue.


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